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Brenda Thomas                                                          December   4   ,   201,5


                                                                                  Page      1

                           IN   THE UNITED STATES DISTRICT COURT
                                WESTERN DI STRICT OF VIASHINGTON
  2                                              AT      SEATTLE

  3           TRACY JAHR,       €t df.   ,

                                   Pl-ainti f f s,
                                                             CIV]L ACTION NO.
                     vs.
                                                             2zL4-CV-01884-MJP
              UNITED STATES OF AIvIERICA,

  7                                De   fendant      .


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 1,2                  Deposition of BRENDA THOMAS, taken on behalf
 13           of the Defendant, dt the U. S . Attorney' s Office,
 t4           22 Barnard Street, Suite 300, Savannah, Georgia,
 15           commencing on December 4, 2015t at 3:38 p.rr.7
 16           before Thomas J. Dorsey, Certified Court Reporter,
 1,7          Regist,ered Professional Reporter.
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Brenda Thomas                                                      December   4,   2015
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 t7                    kristin. b. j ohnsonGusdoj         . glov

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Brenda Thomas                                                  December    4,    2015

                                                                          Page   18

  1               A.   I just know she wanted to have kids.
  2               Q.   Okay. So I understand that she moved out
  3         and I guess moved in with Michaef; is that right?
  4               A.   That is correct,
  5               Q.   okay. And do you know when that happened?
  6               A.   November the 21siu , 207]- .
  'l              Q.   Okay. And do you know where they were
  B         living?
  9               A.   No.
 10               a.   Somewhere down here at Eort Stewart,
 11         though, right?
 72               A.   I canrt answer that. I donrt know.
 13               O.   Okay. Did you meet Michael?
 14               A.   Yes.
 15               O.   Okay. How many times?
 76               A.   Three maybe, two, three times.
 l7               O.   Okay. And were you aware -- l-et me ask
 18         you, had you ever heard of Isaac Aguigui before the
 79         incident?
 20               A.      Can you repeat?
 2l               O.      Had you ever heard      of Isaac Aguigui before
 22         your daughter was killed?
 23              A.     Yes.
 24              O.     Okay. And how did you hear his             name

 25         before that ?

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                                                                            Page 19
  1                  A.     Tiffany.
  2                  Q.     Okay. And what did she te11 you about
  3           him?
  4                A,        She saj-d she met    this guy through Michael.
  5                Q.        Yeah.
  6                A.       And that she felt bad for him because his
  7           wife died    on the sofa.
  I                Q.       Is that all you remember her saying about
  t           him?
 10                 A.      That is all she said about Isaac Aguigui,
 11                 a.      Did she say anything about Michaef's
 t2            friendship   with him at al-I?
 13                 A.      No.
 t4                 O.      What about Christopher Salmon? Had you
 15           ever heard his       name before?
 16                  A.      No.
 t7                  O.      No? Michael- Burnett?
 18                  A.      No.
 19                  O.      Or Anthony Peden?
 20                  A.      No.
 2l                  a.      Did she ever tel-1 you that she        was
 22            concerned or afraid for her safety?
 23                  A.      No.
 24                  a..
                     Q     No?              telII you she was af
                           No? Did she ever tel-              afraid
                                                                 raid                 '
                                                                                      l


 25            for Michael r s safety?

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                                                                            Page 20
   1                 A.     No.
   2                 Q.   Did she ever give you any indication that
   3           she was aware of some kj-nd of group that he was in?
   4                A.    No.
   5                Q.    Did she tel1 you what her plans were with
   6          Michael, if they intended to continue dating when she
   7          moved to Cal-ifornia?
   I                A.    Yes.
   9                Q.    What.did she say?
 10                 A.    She told me she was moving to California
 11           to be with her father, attend school, finish up
 1,2          school and Michael was moving to Seattl-e. That was
 13           all.
 t4                 O.    Okay. Did she say whether they were going
 15           to stay friends? Or did you have any indication?
 16                 A.    She didnrt say.
 l'7                a.    Okay. So when is the last time that you
 18           tal-ked to her?
 1,9                A.    Thanksgiving,
 20                 a.    Okay. And did she seem okay at the time?
 21,                A.    She said she didnrt feel good. She was on
 22           the sofa.
 23                 O.    Iike i11?
 24                 A.    Her stomach.
 25                 O.    Yeah,' okay. But as far as her being in

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Brenda Thomas                                                     December   4,   2015

                                                                            Page 21
    1          any kind of trouble or afraid of anything, did               she
    2          say anything that --
    3                A.      No.
    4                Q.   Okay. Have you talked to anyone from the
    5          Army about this?
    6                A.   Yes.
    7                Q.   Okay. Who did you talk to?
    B                A.   Colonel Herring.
    9                Q.   Can you spe11 that or guess?
 10                  A.   H-e-r-r-i-n-9.
 11                  A.   Okay. And is he the only person that you
 1,2           talked to?
 13                  A.   No.
 1,4                 O.   Okay. Ialho else?
 15                  A.   Be.lcher.
 1,6                 O.   Okay.
 l7                  A.   Denise Johnson and Scr -- it starts with
 18            an S. He worked along with Denise Johnson.
 l" 9                A.   okay.
 20                  A.   Scruter, Scruler, Scruter, something like
 21            that.
                                                                                       ]

 22                  O.   okay. So I kind of want to get a feeling
                                                                                       l


 23            for the substance of these conversations, to the best                   i




 25                  A.      Yes.                                                      :




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